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B 10 (Supplement 1) (12/11)

UNITED STATES BANKRUPTCY COURT

SOUTHERN District of FLORIDA

 

 

In re JOSE IHOVANNYS SANTA MARIA AKA JOSE I SANTA Case No. 18-19807-RAM
MARIA AKA JOSE SANTA MARIA
Debtor Chapter 13

Notice.of Mortgage Payment.Change

If you file a claim secured by a security interest in the debtor's principal residence provided for under the debtor's plan pursuant to
§ 1322(b)(5), you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

 

 

Name of creditor: MTGLO INVESTORS, LP Court claim no. (if known): 5-1

Last four digits of any number Date of payment change: November 1, 2019
you use to identify the debtor’s XXXXXX5130 Must be at least 21 days after date of _

account: this notice

New total payment: $2,361.99

Principal, interest, and escrow, if any
Part 1: Escrow Account Payment Adjustment

Will there be a change in the debtor’s escrow account payment?
[_] no

x] Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
the basis for the change. If a statement is not attached, explain why:

 

Current escrow payment: $ 936.31 New escrow payment: $ 788.69

 

 

Part 2: Mortgage Payment Adjustment

Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-rate
note?

XX] No

[ |yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
attached, explain why:

 

Current interest rate: % New interest rate: %

Current principal and interest payment: $ New principal and interest payment: $

Part 3: Other Payment Change

Will there be a change in the debtor’s mortgage payment for a reason not listed above?
No

[| Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
agreement. (Court approval may be required before the payment change can take effect.)

Reason for change:

 

Current mortgage payment: $ New mortgage payment: $

 
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The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number if different from the notice address listed on the proof of claim to which this Supplement applies.

Check the appropriate box.

[| Tam the creditor.

I am the creditor’s authorized agent.
(Attach copy of power of attorney, if any.)

I declare under penaity of perjury that the information provided in this Notice is true and correct to the best of my knowledge,

Information, and reasonable belief.

. | A

ong
Signature C

Print: _ Alejandro Martinez-Maldonado, Esa.
First Name Middle Name —_ Last Name

Company EXL LEGAL, PLLC
Address 12425 28th Street North, Suite 200
Number Street
St. Petersburg, FL 33716
City State ZIP Code

Contact phone (727) 536-4911

Date gq, JL LAG

Title Attorney for Creditor

Email bk@exlegal.com

 
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CERTIFICATE OF SERVICE

1 HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and am in compliance with the additional qualifications to practice in this
Court as set forth in Local Rule 2090-1.

] FURTHER CERTIFY that a true and correct copy of the foregoing was furnished on
Sepiember [ly 2014 by U.S. Mail and/or electronic mail via CM/ECF to:

PATRICK L. CORDERO, ESQ
7333 CORAL WAY
MIAMI, FL 33155

NANCY NEIDICH, TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027

OFFICE OF THE US TRUSTEE
51 S.W. ISTAVE

SUITE 1204

MIAMI, FL 33130

The parties identified below were served on S¢/7'#., he //_looy US. Mail.

 

JOSE IHOVANNYS SANTA MARIA
14393 SW 28TH ST.
MIAMI, FL 33175

EXL Legal, PLLC

Email Address: bk@exllegal.com
12425 28th Street North, Suite 200
St. Petersburg, FL 33716
Telephone No. (727) 536-4911

Attorney ee
By: SEE

Alejaridro G.MartineZ-Maldonado
FL BAR # 108112
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ANTICIPATED ESCROW ACCOUNT DISBURSEMENTS
we Rushmore Loan Management Services
P.O, Box 55004
isa Irvine, CA 92619

  

COUNTY TAX $5,109.40
HAZARD INS $4,354.92

ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT
AND CHANGE OF PAYMENT NOTICE PREPARED FOR:

Loan Number:

Analysis Date: 08/27/2019 NEW MONTHLY PAYMENT IS AS FOLLOWS:

Principal and Interest $1,573.30

Required Escrow Payment $788.69

83 / ML Shortage/Surplus Spread $.00

335 conan nae Optional Program Payment $.00

MIAMI FL 33155-1402 Buydown or Assistance Payments 2 0
oLafEDe pug h Ep papkepdafpepabeQ DE pfepafeatp EUVEPATEUEY TPE

peFep MMe fog UfypegbegdafpegeteTH Ug Uy fefofeal pg HEAT PEPE |TNY TOTAL MONTHLY PAYMENT 52,361.99

NEW PAYMENT EFFECTIVE DATE: 11/01/2019

FOR BORROWERS IN BANKRUPTCY OR BORROWERS WHOSE DEBT HAS BEEN DISCHARGED IN
BANKRUPTCY, THIS IS AN INFORMATIONAL STATEMENT AND IT IS NOT AN ATTEMPT TO COLLECT A DEBT.
PLEASE NOTE THAT EVEN IF YOUR DEBT HAS BEEN DISCHARGED IN BANKRUPTCY AND YOU ARE NO
LONGER PERSONALLY LIABLE ON THE DEBT, THE LENDER MAY, IN ACCORDANCE WITH APPLICABLE LAW,
PURSUE ITS RIGHTS TO FORECLOSE ON THE PROPERTY SECURING THE DEBT.

Rushmore Loan Management Services has completed an analysis of the escrow account. We have adjusted the mortgage payment to reflect changes
in the real estate taxes and/or property insurance. The escrow items to be disbursed from the account are itemized above. If you have questions
regarding this analysis, please write to our Customer Service Department at Rushmore Loan Management Services, P.O. Box 55004, Irvine, CA
92619, or call toll-free 1-888-504-6700.

In the event you utilize a third party to remit your payments, please inform them of the effective date of any change in your payment.

ANNUAL ESCROW ACCOUNT PROJECTION FOR THE COMING YEAR
This is an estimate of activity in the escrow account during the coming year based on payments anticipated to be made from the account.

PAYMENTS TO PAYMENTS FROM ESCROW ACCOUNT
ESCROW ACCOUNT ------ ESCROW ACCOUNT BALANCE
MIP/PMI TAXES FLOOD HAZ. INS. SPECIAL PROJECTED REQUIRED
MONTH
STARTING BALANCE $23609.22 $4683.62
NOV $788.69 $5109.40 $362.91 $18925.60 $0.00 *
DEC $788.69 $362.91 $19351.38 $425.78
JAN $788.69 $362.91 $19777.16 $851.56
FEB $788.69 $362.91 $20202.94 $1277.34
MAR $788.69 $362.91 $20628.72 $1703.12
APR $788.69 $362.91 $21054.50 $2128.90
MAY $788.69 $362.91 $21480.28 $2554.68
JUN $788.69 $362.91 $21906.06 $2980.46
JUL $788.69 $362.91 $22331.84 $3406.24
AUG $788.69 $362.91 $22757.62 $3832.02
SEP $788.69 $362.91 $23183.40 $4257.80
oct $788.69 $362.91 $23609.18 $4683.58
“Indicates a projected iow point of $18,925.60 . Under the mortgage contract, state or federal law, the lowest monthly
balance should not exceed $.00. The difference between the projected low point and the amount required is $18,925.60

This is the surplus.

Please keep this statement for comparison with the actual activity in your account at the end of the next escrow accounting computation year.

IF THIS ESCROW ANALYSIS INDICATES THAT THERE IS A SURPLUS, IT MAY NOT MEAN THAT YOU ARE
ENTITLED TO RECEIVE A RETURN OF THAT SURPLUS, THIS ANALYSIS WAS CALCULATED BASED ON AN
ASSUMPTION THAT THE ACCOUNT IS CURRENT ACCORDING TO THE TERMS OF THE NOTE AND
MORTGAGE/DEED OF TRUST. IF THE ACCOUNT [IS BEHIND, IN DEFAULT, OR IN BANKRUPTCY, THIS ANALYSIS
MAY NOT REFLECT THE CURRENT STATE OF THE ACCOUNT OR THE TERMS OF A BANKRUPTCY PLAN. IF
THERE ARE ENOUGH FUNDS IN THE ESCROW ACCOUNT AND THE SURPLUS IS $50 OR GREATER, THAT
SURPLUS WILL BE MAILED TO YOU WITHIN 30 DAYS, PROVIDED THE ACCOUNT IS CURRENT UNDER THE
TERMS OF THE NOTE AND MORTGAGE/DEED OF TRUST.
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Loan Number: 23@R0ibe Name: JOSE SANTAMARIA

ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT - ACCOUNT HISTORY
This is a statement of actual activity in the escrow account from 03/2019 through 10/2019. Last year's projections are
next to the actual activity. The most recent mortgage payment was $4,065.80 of which $2,492.50 went to the escrow
account and the remainder of $1,573.30 went towards the mortgage loan. An asterisk (*) indicates a difference between
a projected disbursement and actual activity.

PAYMENTS TO ESCROW ACCOUNT PAYMENTS FROM ESCROW ACCOUNT ESCROW BALANCE COMPARISON
PROJECTED ACTUAL PROJECTED ACTUAL DESCRIPTION PROJECTED ACTUAL
MONTH
STARTING BAL. $0.00 $53571.86~-
MAR $324 .36* $0.00 $53247.50-
APR $9970.00* $0.00 $43277.50-
MAY $362.91* HAZARD INS. $0.00 $43640.41-
MAY $362.91* HAZARD INS. $0.00 $44003.32-
MAY $362.91* HAZARD INS. $0.00 $44366.23-
JUN $4985 .00* $362.91* HAZARD INS. $0.00 $39744.14~
JUL $2492 .50* $362.91* HAZARD INS. $0.00 $37614.55-
AUG $57327.50* $362.91* HAZARD INS. $0.00 $19350.04
SEP $2492 .50* $362.91* HAZARD INS. $0.00 $21479.63
ocT $2492 .50* $362.91* HAZARD INS. $0.00 $23609.22
OVER THIS PERIOD, AN ADDITIONAL $.00 WAS DEPOSITED INTO THE ESCROW ACCOUNT FOR INTEREST ON ESCROW.
The actual lowest monthly balance was less than $.00. The items with an asterisk on the account history may

explain this, if you would like a further explanation, please call our toll-free © number: 1-888-504-6700.
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ADDITIONAL NOTICES

Rushmore Loan Management Services LLC is a Debt Collector, who is attempting to collect a debt. Any information obtained
will be used for that purpose. However, if you are in Bankruptcy or received a Bankruptcy Discharge of this debt, this letter is
being sent for informational purposes only, is not an attempt to collect a debt and does not constitute a notice of personal
liability with respect to the debt.

if you have any other mortgage loans secured by the same property not serviced by Rushmore, please contact your other
servicer directly to discuss any possible loss mitigation options that may be available to you.

if you are a confirmed Successor-in-Interest who has not assumed the mortgage loan obligation under State Law, this letter is
being sent for information purposes only and does not constitute personal liability with respect to the debt.

LEGAL NOTIFICATION: Rushmore Loan Management Services LLC may report information about your account to credit
bureaus. Late payments, missed payments or other defaults on your account may be reflected in your credit report.

Notice of Error Resolution & Information Request Procedures
The following outlines the Error Resolution and Information Request Procedures for your mortgage account at Rushmore Loan
Management Services LLC (RLMS). Please keep this document for your records.

I hink rr r n r ific in i ici
your loan, please write us at:

Rushmore Loan Management Services LLC
P.O, Box 52262
Irvine, California 92619-2262
All written requests for information or notices of error should contain the following information:

1. Your name

2. Account number

3. Property Address

4. Description of the error and explanation as to why you believe it is an error or a request for specific information

regarding the servicing of your loan
5. Current contact information so we may follow up with you

All written requests for specific information will be handled within 30 days of receipt. We will determine whether an error
occurred within 30 days after receiving your notice of error and will correct any error promptly (Notices of error on payoff
statements will be handled within 7 days). If additional time is needed to investigate your complaint or request, we may take up
to 45 days but we will notify you of the extension within the original 30 days. If we decide that there was no error, we will send
you a written explanation. You may ask for copies of the documents that we used in our investigation.

HUD STATEMENT

Pursuant to section 169 of the Housing and Community Development Act of 1987, you may have the opportunity to receive
counseling from various local agencies regarding the retention of your home. You may obtain a list of the HUD approved housing
counseling agencies by calling the HUD nationwide toll free telephone at | -800-569-4287,

Equal Credit Opportunity Act Disclosure

NOTICE: The federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis
of race, color, religion, national origin, sex, marital status, age (provided the applicant has the capacity to enter into a binding
contract); because all or part of the applicant's income derives from any public assistance program; or because the applicant has
in good faith exercised any right under the Consumer Credit Protection Act. The federal agency that administers compliance
with this law concerning this creditor is the Bureau of Consumer Financial Protection, 1700 G Street NW, Washington, DC
20552.

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STATE SPECIFIC NOTICES
The following notice applies to Arkansas residents only:

Please note that Rushmore Loan Management Services LLC is licensed in Arkansas and that complaints about Rushmore Loan
Management Services LLC may be submitted to the Arkansas Securities Department via the Department's website

(http://www. securities,arkansas,gov/) or toll-free | -800-981 -4429,

The following notice applies to California residents only:

The state Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt Collection Practices Act require that, except
under unusual circumstances, collectors may not contact you before 8:00 a.m. or after 9:00 p.m. They may not harass you by
using threats of violence or arrest or by using obscene language. Collectors may not use false or misleading statements or call
you at work if they know or have reason to know that you may not receive personal calls at work. For the most part, collectors
may not tell another person, other than your attorney or spouse, about your debt. Collectors may contact another person to
confirm your location or enforce a judgment. For more information about debt collection activities, you may contact the
Federal Trade Commission at |-877-FTC-HELP (382-4357) or www.ftc.gov.

The following notice applies to Colorado residents only:

Please note: A consumer has the right to request in writing that a debt collector or collection agency cease further
communication with the consumer. A written request to cease communication will not prohibit the debt collector or collection
agency from taking any other action authorized by law to collect the debt.

FOR INFORMATION ABOUT THE COLORADO FAIR DEBT COLLECTION PRACTICES ACT, SEE www.coag.govw/car.
Please be advised that you can reach the Colorado Foreclosure Hotline at |-877-601-HOPE (601-4673).

Local Rushmore Loan Management Services LLC Agent for Colorado Residents:
Irvin Borenstein
7200 S. Alton Way, #8180
Centennial, CO 80112
303-309-3839

The following notice applies to Hawaii residents only:

Rushmore is licensed by the Division of Financial Institutions for the State of Hawaii. A borrower may file a complaint about
Rushmore Loan Management Services with the Commissioner:

Division of Financial Institutions
Department of Commerce and Consumer Affairs
King Kalakaua Building
335 Merchant Street, Rm. 22]
Honolulu, HI 96813

The following notice applies to Massachusetts residents only:

Notice of IMPORTANT RIGHTS: You have the right to make a written or oral request that telephone calls regarding your debt
not be made to you at your place of employment. Any such oral request will be valid for only ten (10) days unless you provide
written confirmation of the request postmarked or delivered within seven (7) days of such request. You may terminate this
request by writing to the creditor.

The following notice applies to North Carolina residents only:

If you believe the loss mitigation request has been wrongly denied, you may file a complaint with the North
Carolina Office of the Commissioner of Banks website, www.nccob.goy.

RUSHMORE LOAN MANAGEMENT SERVICES LLC Branch Addresses:
California Branch: 15480 Laguna Canyon Road, Suite 100, Irvine CA 92618

Texas Branch: 1755 Wittington Place, Suite 400, Dallas TX 75234

Oklahoma Branch: 2000 North Classen Blvd, Suite N3400, Oklahoma City, OK 73106
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Collection Agency

CA Office License Number: 103651
TX Office License Number: 112248
OK Office License Number: 113559

The following notice applies to New York residents only:

NOTICE PURSUANT TO NEW YORK STATE BANKING REGULATION 419

Rushmore is registered with the Superintendent of Banks for the State of New York. A borrower may file a complaint about
Rushmore Loan Management Services with the New York State Department of Financial Services. A borrower may obtain
further information from the New York State Department of Financial Services by calling the Department’s Consumer
Assistance Unit at | -800-342-3736 or by visiting the Department's website at www.dfs.ny.gov.

If you believe the loss mitigation request has been wrongly denied, you may file a complaint with the New York
State Department of Financial Services at 1-800-342-3736 or www.dfs.ny.gov.

NMLS Unique ID Number 185729

The following notice applies to Texas residents only:

COMPLAINTS REGARDING THE SERVICING OF YOUR MORTGAGE SHOULD BE
SENT TO THE DEPARTMENT OF SAVINGS AND MORTGAGE LENDING, 2601 NORTH
LAMAR, SUITE 201, AUSTIN, TX 78705. A TOLL-FREE CONSUMER HOTLINE IS
AVAILABLE AT 877-276-5550.

A complaint form and instructions may be downloaded and printed from the Department’s
website located at www.sml,texas.gov or obtained from the department upon request by mail at
the address above, by telephone at its toll-free consumer hotline listed above, or by email at

The following notice applies to Oregon residents only:

Pursuant to Oregon Revised Statutes 86A.324(1)(i), the Director of the Department of Consumer and Business Services
prescribes by rule. Residential mortgage loan servicers are regulated by the Oregon Division of Financial Regulation. If you have
a question or complaint against a company or individual in the financial services industry, you may file a complaint by calling the
Department at |-866-814-9710 or by visiting http://dfr.oregon.gov. You may also send your complaints by fax to 503-947-7862,
or by mail to: PO Box 14480, Salem, OR 97309-0405.

The following notice applies to Pennsylvania residents only:

The lender shall retain a security interest in the residential real estate unless and until the debt is fully satisfied and the security
interest is released.

The following notice applies to Wisconsin residents only:

This collection agency is licensed by the Division of Banking in the Wisconsin Department of Financial
Institutions, www.wdfi.org.
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P.O. Box 55004 ANTICIPATED ESCROW ACCOUNT DISBURSEMENTS
Suite 100
irvine, CA 92619

RUSHMORE www.rushmorelm.com
LOAN MANAGEMENT
ees

 

FOR BORROWERS IN BANKRUPTCY OR BORROWERS WHOSE DEBT HAS BEEN
DISCHARGED IN BANKRUPTCY, THIS IS AN INFORMATIONAL STATEMENT AND IT IS
NOT AN ATTEMPT TO COLLECT A DEBT. PLEASE NOTE THAT EVEN IF YOUR DEBT
HAS BEEN DISCHARGED IN BANKRUPTCY AND YOU ARE NO LONGER PERSONALLY
LIABLE ON THE DEBT, THE LENDER MAY, IN ACCORDANCE WITH APPLICABLE LAY,
PURSUE ITS RIGHTS TO FORECLOSE ON THE PROPERTY SECURING THE DEBT.

IF THIS ESCROW ANALYSIS INDICATES THAT THERE IS A SURPLUS, IT MAY NOT MEAN
THAT YOU ARE ENTITLED TO RECEIVE A RETURN OF THAT SURPLUS. THIS ANALYSIS
WAS CALCULATED BASED ON AN ASSUMPTION THAT THE ACCOUNT IS CURRENT
ACCORDING TO THE TERMS OF THE NOTE AND MORTGAGE/DEED OF TRUST. IF THE
ACCOUNT IS BEHIND, IN DEFAULT, OR IN BANKRUPTCY, THIS ANALYSIS MAY NOT
REFLECT THE CURRENT STATE OF THE ACCOUNT OR THE TERMS OF A BANKRUPTCY
PLAN. IF THERE ARE ENOUGH FUNDS IN THE ESCROW ACCOUNT AND THE SURPLUS IS
$50 OR GREATER, THAT SURPLUS WILL BE MAILED TO YOU WITHIN 30 DAYS, PROVIDED
THE ACCOUNT IS CURRENT UNDER THE TERMS OF THE NOTE AND MORTGAGE/DEED OF
TRUST.

*If there is an amount listed in the “Actual” column under Payments To Escrow Account on
Page 2 above, then this is the assumption that was made and indicates the amount that
would have been paid into escrow for a contractually current loan. This number does not
represent payments that were actually made by you. As discussed above, these escrow
calculations are calculated based on an assumption that the account would be current
according to the terms of the note and mortgage/deed of trust.

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